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                              EXHIBIT OO


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                       The Price of Jails:
                                       Measuring the Taxpayer Cost
                                       of Local Incarceration
                                       MAY 2015
CENTER ON SENTENCING AND CORRECTIONS




                                       Christian Henrichson • Joshua Rinaldi • Ruth Delaney
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                               FROM THE PRESIDENT

                               A look at who is currently in jail—and why—makes it clear that, after decades of rising in-
                               mate populations, the costs of jail surely outweigh the benefits. Many local governments
                               are now looking at how they too can help solve the problem of mass incarceration. These
                               efforts are not just timely but essential, because county and city justice systems contain a
                               third of the country’s incarcerated population on any given day.

                               The fiscal costs of jail are high and, as this report details, actually higher than most realize.
                               The jail is one of a community’s largest investments and its funding is drawn from the same
                               sources that support public hospitals, schools, social services, roads, and many other essen-
                               tial functions of local government. It is exactly for this reason that counties and cities are
                               well positioned to reinvest jail savings into programs and services that will help keep many
                               people, especially those who are poor or have serious mental illness, from entering or stay-
                               ing in jail in the first place. And, in terms of public safety, this is a much better investment.

                               One problem that has bedeviled efforts by state governments to reinvest correctional sav-
                               ings is the so-called wrong pockets problem. That arises when savings do not accrue to
                               the stakeholders responsible for curbing the costs, but rather to different jurisdictions or
                               departments in a sprawling state bureaucracy, each with their own parochial interests.

                               But at the local level there is a chance to make good on the oft-told promise of community
                               reinvestment because there is generally greater political consensus than at the state level,
                               and the discrete geography of counties means that there is no resource competition with
                               other regions of the state. And the local commissioners, mayors, and council members that
                               know their communities best will then have the opportunity to reallocate funds to programs
                               and services that better address the needs of so many in their jails.

                               Downsizing jail populations is easier said than done and will require collaboration among
                               police, prosecutors, judges, and community corrections officials—all of whom have differ-
                               ent perspectives and priorities. But for those who are up to the challenge, this report makes
                               it plain that a large sum of money is on the table. More than we may have realized.




                               Nicholas Turner
                               President and Director
                               Vera Institute of Justice




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                                          Introduction
                                          The story of how the United States arrived at the world’s highest incarcera-
                                          tion rate has been well told. An abundance of scholarship—both empirical
                                          and theoretical—covers this ground in great detail, discussing its causes and
                                          contours, as well as its human and economic consequences.1 The issue of mass
                                          incarceration is increasingly discussed in the corridors of government as well.
                                          Concerned about high costs and the stubbornly high rates of people returning
                                          to prison, states and the federal government have, in recent years, looked for
                                          more cost-effective ways to improve public safety, reconsidering in particular
                                          who gets punished, how, and for how long.2 With research demonstrating that
                                          some people can be safely supervised in the community at a lower cost, new
                                          legislation has focused on shrinking prison populations by expanding the num-
                                          ber of criminal offenses that don’t require incarceration, reducing the length of
                                          custodial sentences, or both.3
                                             Most discussions about the overreliance on incarceration have focused on de-
                                          creasing the use of state prisons, which now hold 1.4 million men and women—
                                          five times more than in the 1970s.4 But prisons—state and federally operated
                                          facilities that hold sentenced people—are not the only places where people
                                          are incarcerated. Less discussed but gaining increased attention is the parallel
                                          growth in the use of jails—locally run confinement facilities used primarily to
                                          detain persons arrested but not yet convicted of any crime—which now hold
                                          more than 730,000 people, more than triple their population in 1983.5
                                             Although hidden from view and misunderstood by the public, jails play a
                                          central role in local justice systems. These are the places where most arrested
                                          men and women land and where many remain as their cases wind through the
                                          criminal justice system toward resolution. And as more people cycle through
                                          the thousands of jail systems in this country—with nearly 12 million admis-
                                          sions in 2013—jails have become one of the most significant public safety
                                          expenditures a community makes every year.6 Bigger jail populations mean
                                          increased costs for staff and associated overhead expenses (including costs
                                          related to expanded intake, diagnostic, and release procedures) and for basic
                                          necessities such as food, clothing, health care, and programming. In certain ju-
                                          risdictions, the increased number of people in jail has led to costly construction
                                          of new facilities, including expanded maintenance and debt service costs.7 The
                                          U.S. Department of Justice estimated that local communities spent $22.2 billion
                                          on jails in 2011.8




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More inmates, higher costs

Rising inmate populations have led to rising costs because more inmates
mean more jail employees. On average, there is one jail employee for every
3.3 inmates—a proportion that has barely changed since 1983.
(See endnotes 7 and 8.)




                                   4x
                              MORE COSTS



      735,601 inmates            $22.2            2011
                                 BILLION



                                  $5.7
                                                  1983




      223,551 inmates
                                 BILLION




  But as high as $22.2 billion sounds, it actually underestimates the price of jails,
because other government agencies bear a large share of jail costs that are not
reflected in jail budgets. For example, in addition to the $1.1 billion spent by the
City of New York Department of Correction in 2014, other city agencies spent
an additional $1.3 billion for jail employee benefits, health care and education
programs for incarcerated people, and administration, bringing the total cost to
$2.4 billion.9
  Because the costs reported are too often incomplete, policymakers and the
public are seldom aware of the full extent of their community’s financial
commitment to the operations of the local jail. Given the outsize role jails play
in the country’s criminal justice system—incarcerating millions of people an­
nually—it is striking that the national price tag for jails remains unknown and
that taxpayers who foot most of the bill remain unaware of what their dollars
are buying.
  As policymakers focus on justice reform at the local level and consider how
to spend scarce community resources effectively to improve public safety
outcomes, they need to understand how much communities are spending to
support jails and their operations. With this knowledge, in addition to the grow-
ing evidence base about which criminal justice practices work, local leaders can
make better decisions about how and when to use jails and determine whether
those dollars could be invested more effectively.10 And because county govern-




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                                          ments fund the jail and community-based programs, they are well situated to
                                          reinvest jail savings into the programs and services needed by many people in
                                          their facilities, such as mental health or substance abuse treatment and hous-
                                          ing or employment assistance.11

The largest jail costs                      Without having a grasp of their jails’ costs, policymakers will not know the
                                          full scope of potential jail savings in their jurisdictions. This report seeks to

are those associated                      inform both the national discussion about the role of jails in the U.S. criminal
                                          justice system and the decisions of local policymakers as they prioritize public

with personnel.                           safety investments on limited budgets. To this end, researchers at the Vera Insti-
                                          tute of Justice (Vera) developed a survey to help measure the actual price of jails

Because these                             and fielded it nationwide through direct outreach as well as communications
                                          through professional networks. Vera received responses from 35 jail jurisdic-

expenses are driven                       tions across the country. In documenting how jail expenses in these 35 places
                                          add up and who pays for them, the findings of Vera’s study confirm that the

by jail population,                       county general fund foots the bill for jails and that those costs are more expen-
                                          sive than most people realize.

jurisdictions that                           The first part of this report describes these findings in depth, looking in par-
                                          ticular at jail expenses that are typically outside of corrections budgets, which

wish to lower their                       must be accounted for to calculate a more precise estimate of the actual price
                                          of jails. The largest jail costs are those associated with personnel. Because these

costs must take                           expenses are driven by jail population, jurisdictions that wish to lower their
                                          costs must take sustainable steps to reduce the number of people they incarcer-

sustainable steps to                      ate. The report concludes by suggesting how policymakers can use cost-of-jail
                                          information to better understand the impact of their policy choices.

reduce the number                            This report focuses on the importance of determining the actual price tag for
                                          the county or local jail—that is, capturing all costs associated with running and

of people they                            staffing the local correctional facility, both inside and outside the jail budget.
                                          While this baseline number is critical information for both policymakers and

incarcerate.                              the public, it still underestimates the true cost of jail incarceration, which would
                                          incorporate the financial and social costs to individuals, families, and communi-
                                          ties when so many people end up behind the jail walls. Calculating these costs
                                          is beyond the scope of this report but should be part of any complete cost-­
                                          benefit analysis of jail incarceration.



                                          Methods: Measuring
                                          the price of jail
                                          If the actual price of a jail cannot be determined by looking at the jail line item
                                          in a county budget, how can policymakers and administrators figure it out?
                                          Vera researchers, in consultation with jail finance officials in six jurisdictions,
                                          developed a survey instrument to capture all of the costs incurred to run a jail,
                                          as well as the extent to which those costs were included in the jail’s budget or
                                          were paid by another department.12 (The survey is available at vera.org/price-
                                          of-jails.) The survey also asked about the sources of revenue that supported


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JAILS IN THE U.S.

Although the terms “prison” and “jail” are often used interchangeably,
the two types of custodial correctional institutions are distinctly different.
Prisons are state or federally run facilities that typically hold people with
sentences of more than a year.a Jails are short-term facilities that usually operate under
the authority of county governments or independently elected sheriffs. Jails primarily
hold unconvicted men, women, and sometimes juveniles pending case resolution, as
well as a smaller number of convicted people with a custodial sentence usually of one
year or less.

Jail jurisdictions in the United States vary significantly, ranging from the majority of coun-
ties that each have only one small jail to larger counties or cities with a network of jails,
such as the eight jails in Los Angeles County that incarcerate 19,000 people.b Although
the largest 159 jails—which hold more than 1,000 people each—constitute only 5 per-
cent of U.S. jails, they hold nearly 50 percent of all people incarcerated in the nation’s
jails.c Meanwhile, about a third of the total jail population can be found in the nation’s
608 medium-size jails, which each hold 200 to 999 people. Small jails, which hold fewer
than 200 people, represent the vast majority of jails (73 percent), but only 17 percent of
the jail population nationwide.

U.S. jail jurisdictions and populations by jurisdiction size (2006) d
                                        Small                       Medium                      Large
                                       (1-199)                     (200-999)                  (1,000+)
                                   #             %             #            %             #              %            Total
    Jurisdictions               2,150          73.7          608           20.8          159           5.5            2,917
    Incarcerated people        132,038         17.4        264,555         34.8       364,146         47.9          760,739

a
  For more information about these definitions, see U.S. Department of Justice, Office of Justice Programs, Bureau of Jus-
tice Statistics, Terms and Definitions: Local Jail Inmates and Jail Facilities, http://www.bjs.gov/index.cfm?ty=tdtp&tid=12.
b
  For the size of the LA County jail system, see Vera Institute of Justice, Los Angeles County Jail Overcrowding Reduction
Project Final Report, (New York: Vera Institute of Justice, 2011).
c
  There is no common definition of small, medium, and large jails; these designations are inherently subjective. The authors
chose to categorize jails with more than 1,000 beds as “large” to align with the National Institute of Corrections “Large Jail
Network.” For information on the Large Jail Network, see Connie Clem, Proceedings of the Large Jail Network Meeting,
March 2014 (Washington, DC: National Institute of Corrections, 2014). The distinction between small and medium jails is
more arbitrary, but the authors selected a threshold of 200 because most jails under this threshold are in rural counties. The
use of this threshold illustrates that relatively few incarcerated people are in small jails, which constitute the vast majority of
these facilities.
d
  Authors’ analysis of public use data set from James Stephan and Georgette Walsh, Census of Jail Facilities, 2006 (Wash-
ington, DC: U.S. Department of Justice, Office of Justice Programs, Bureau of Justice Statistics, 2011). Total jail jurisdic-
tions exclude the combined jail-prison systems in Alaska, Connecticut, Delaware, Hawaii, Rhode Island, and Vermont.
Jurisdictions in this figure vary slightly from the figure presented in Stephan and Walsh (2011)—2,860—because of their
reclassification of some jail reporting units.




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                                          the jail’s expenses, to document the extent to which jail costs were paid with
                                          county, state, or federal dollars, or other sources.
                                             In addition, the survey sought to gather basic facts about the jail, including
                                          the average daily inmate population, the number of uniformed and other staff,

Vera researchers, in                      staff salaries, and the number of beds and housing units, which are key mea-
                                          sures needed to calculate the marginal cost of the jail, which is the amount the

consultation with                         total cost of jail changes when the inmate population changes. (See “Measuring
                                          a Jail’s Cost Savings” on page 21 for further discussion of marginal costs.)

jail finance officials                       In February 2015, Vera distributed the survey through the National Insti-
                                          tute of Corrections’ Large Jail Network, which includes the more than 150 jail

in six jurisdictions,                     ­jurisdictions with at least 1,000 beds and house nearly half of all incarcerated
                                           people in the country’s jails. To reach small and medium jails and encourage

developed a survey                         participation in the survey, Vera researchers also directly contacted nearly 100
                                           jails nationwide. These jurisdictions included many that have received technical

instrument to                              assistance through the U.S. Department of Justice’s Bureau of Justice Assistance
                                          and others recommended by national membership organizations, including the

capture all of the                        National Sheriffs’ Association and National Association of Counties. To ensure
                                          maximum survey participation, Vera researchers responded to all questions

costs incurred to                         from p ­ otential par­ticipants, extended deadlines when requested, and followed
                                          up with jurisdictions that didn’t respond. Several state associations, including

run a jail, as well                       the Sheriffs’ Association of Texas and the County Commissioners Association of
                                          Pennsylvania, distributed an announcement of the survey to their members in

as the extent to                          support of the study.
                                            Thirty-five jail jurisdictions returned the survey, representing those with

which those costs                         small, medium, and large jails in 18 states from every region of the country.
                                          These jails range from the very small—Pitkin County, Colorado, with an aver-

were included in the                      age daily inmate population (ADP) of 17—to the very large: New York City, with
                                          an ADP of 11,408. Combined, the surveyed jurisdictions have an ADP of 64,920,

jail’s budget or were                     representing approximately 9 percent of all people incarcerated in the nation’s
                                          jails. Thanks to efforts by the Sheriffs’ Association of Texas, nine jurisdictions

paid by another                           in Texas returned surveys, the most from a single state. The full study sample
                                          includes the following:

department.                                 >>5 small jails, with an ADP of fewer than 200 incarcerated people;
                                            >>12 medium jails, with an ADP of 200 to 999 incarcerated people; and
                                            >>18 large jails, with an ADP of more than 1,000 incarcerated people.


                                            Vera researchers reviewed each survey to ensure that all the data provided
                                          was internally consistent—meaning that the response to one question did not
                                          contradict other answers—and contacted the relevant county agencies regard-
                                          ing information about jail costs paid by other departments that the survey
                                          respondent was unable to obtain. Vera researchers also contacted survey re-
                                          spondents if the responses suggested that they did not understand one or more
                                          questions. When Vera made any corrections to responses, a revised survey was
                                          returned to respondents for verification.



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                            PRICE OF JAILS SURVEY: Participating Jurisdictions




State             Jurisdiction                               State              Jurisdiction
                                                             New York           Allegany County
California        Alameda County (Oakland)
                                                                                Chautauqua County
Colorado          Boulder County
                                                                                New York City
                  Mesa County
                                                                                Onondaga County Justice Center, NY (Syracuse)
                  Pitkin County
                                                             Pennsylvania       Clinton County, PA
Florida           Miami-Dade County
                                                             Tennessee          Davidson County Sheriff’s Office (Nashville)
                  Palm Beach County
                                                                                Shelby County Division of Corrections (Memphis)
                  Volusia County (Daytona Beach)
                                                             Texas              Brazos County (College Station)
Georgia           Cherokee County
                                                                                Dallas County
Kansas            Johnson County
                                                                                Guadalupe County
Kentucky          Louisville Metro
                                                                                Harris County (Houston)
Massachusetts     Hampden County (Springfield)
                                                                                Limestone County
Minnesota         Ramsey County (Saint Paul)
                                                                                Lubbock County
North Carolina    Mecklenburg County (Charlotte)
                                                                                Potter County
Nebraska          Douglas County (Omaha)
                                                                                Rockwall County
New Mexico        Bernalillo County (Albuquerque)
                                                                                Travis County
                                                             Virginia           Albemarle-Charlottesville Regional Jail
                                                             Washington         City of Kent
                                                                                King County (Seattle)
                                                             Wisconsin          Milwaukee County House of Correction




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                                           Figure 1: Breakdown of total reported jail
                                           costs from surveys


                                                     21%
                                                                                  •    otal employee costs
                                                                                      T
                                                                                      include salaries, fringe benefits,
                                                                                      and pension contributions.

                                               5%                                 •    apital costs include capital
                                                                                      C
                                                                                      expenditures and debt service.

                                                                    74%           •    ll other costs include
                                                                                      A
                                                                                      non-personnel expenses such as
                                                                                      contracts, supplies, and utilities.




                                           Results: Counting all costs—
                                           the actual price of jails
                                           The survey results confirmed that pinning down the total cost of a jail or
                                           jail system is not a simple task, even for the agency that runs it. As an initial
                                           question, the survey asked whether the agency publicly reports the cost of
                                           operations in any manner. Seven of the 35 surveyed jurisdictions reported that
                                           they do not, although they can supply this information upon request. Figure 3
                                           provides an overview of the types of costs jails incur. The largest cost category
                                           across all jail jurisdictions is personnel, including both salary and benefits.
                                              All jail jurisdictions in Vera’s sample reported that at least some of their ex-
                                           penses were covered by one or more other government agencies, but their
                                           ability to identify the precise amounts of these outside costs varied. (See Figure
                                           2.) Ten jurisdictions could not identify the amounts for any of these costs and
                                           only five jurisdictions—Chautauqua County, New York; Onondaga County, New
                                           York; Mecklenburg County, North Carolina; Milwaukee County House of Correc-
                                           tion, Wisconsin; and Pitkin County, Colorado—could provide data on all of the
                                           costs outside their jail budget in part because these were among the jails where
                                           relatively few of the costs are outside the jail budget. The costs tallied for these
                                           jurisdictions come closest to the actual price of their jails. The remaining 20
                                           jurisdictions could account for only some of the costs outside their jail budgets;
                                           the amount of outside costs these jurisdictions reported is a conservative esti-
                                           mate. But even so, the total price of jail determined through Vera’s survey is more
                                           accurate than these jurisdictions have previously reported, which only included
                                           the jail budget.




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Figure 2: Percentage of costs outside of jail budget

       Less than 10%                 10% to 20%                 More than 20%

                                                              Ramsey County, MN
   Cherokee County, GA            Clinton County, PA
                                                                  (St. Paul)
          0.1%                          14.9%
                                                                    20.2%
                                Hampden County, MA
  Miami-Dade County, FL                                     King County, WA (Seattle)
                                   (Springfield)
          0.2%                                                      21.5%
                                      17.8%
                               Davidson County Sheriff’s
    Rockwall County, TX                                       Johnson County, KS
                                Office, TN (Nashville)
          0.4%                                                      22.0%
                                        19.8%

    Louisville Metro, KY                                      Boulder County, CO
            0.4%                                                    23.9%

   Bernalillo County, NM
                                                              Lubbock County, TX
      (Albuquerque)
                                                                    24.4%
            0.8%
 Mecklenburg County, NC
                                                             Limestone County, TX
       (Charlotte)
                                                                    27.7%
          0.9%
    Alameda County, CA
                                                              Allegany County, NY
        (Oakland)
                                                                     29.1%
          1.0%
 Milwaukee County House
                                                               New York City, NY
     of Correction, WI
                                                                    53.6%
           2.5%
 Onondaga County Justice
  Center, NY (Syracuse)
          2.7 %

  Chautauqua County, NY
          3.3%

     Potter County, TX
           4.5%

  Travis County, TX (Austin)
            5.6%

     Brazos County, TX
     (College Station)
           9.4%

     Pitkin County, CO
            9.8%


See appendix for more information. The Albemarle-Charlottesville Regional Jail, VA;
Dallas County, TX; Douglas County, NE (Omaha); Guadalupe County, TX; Harris County,
TX (Houston); City of Kent, WA; Mesa County, CO; Palm Beach County, FL; the Shelby
County Division of Corrections, TN (Memphis); and Volusia County, FL (Daytona Beach)
could not identify any of the costs outside their budget.




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                                                       COST CATEGORIES OUTSIDE JAIL BUDGETS

                                                       As noted previously, every jurisdiction that responded to Vera’s
                                                       survey indicated that at least a portion of total jail costs was paid by
                                                       another government agency—ranging from approximately 1 percent
                                                       to more than 53 percent of total costs. These outside costs typically
                                                       fall into six categories:


                                                         1.     employee benefits;
                                                         2.     inmate health care;
Employee benefits                                        3.     capital costs;
                                                         4.     administrative costs;
and inmate health                                        5.     legal judgments and claims; and
                                                         6.     inmate programming and other costs.
care made up the lion’s
                                                          Employee benefits and inmate health care made up the lion’s share
share of jail costs that                               of jail costs that were typically outside jail budgets—with employee
                                                       benefits averaging more than 20 percent of total jail spending and in-
were typically outside                                 mate health care averaging approximately 10 percent, although health
                                                       care costs were higher in large cities.13 The total cost of jail is thus con-
jail budgets—with                                      siderably underestimated when these outside costs are excluded.
                                                          Some other outside costs have far less impact if excluded from the
employee benefits                                      total. Capital costs, for example, varied widely across jurisdictions,
                                                       but averaged 6 percent—with a range of less than 1 percent to 23
averaging more than                                    percent—for the 18 jails that reported these expenses. Administrative
                                                       costs averaged 6 percent. Legal judgments and claims averaged 1 per-
20 percent of total jail                               cent, as did inmate programming and other costs.
                                                          Figure 3 shows the cost categories in which some or all of the costs fall
spending and inmate                                    outside the jail budgets of the surveyed jurisdictions.14 See the appendix
                                                       for a summary of the survey results for each of the 35 sur­veyed jurisdic-
health care averaging                                  tions.

approximately                                          EMPLOYEE BENEFITS

10 percent.                                            Although all surveyed jail jurisdictions provide funding for employ-
                                                       ees’ salaries, 15 of 35 jails reported that another agency pays for a por-
                                                       tion of their benefits—most commonly, pension contributions. The
                                                       cost of employee fringe benefits varied widely—for example, they
                                                       amounted to 32 percent of salaries in Hampden County, Massachu-
                                                       setts, and 70 percent of salaries in New York City.15 But even fringe
                                                       benefits on the lower end of the range add up. In Hampden County,
                                                       $14.6 million in fringe benefit expenses—18 percent of all jail spend-
                                                       ing—were outside the jail budget and paid directly by the Common-
                                                       wealth of Massachusetts.




12   THE PRICE OF JAILS: MEASURING THE TAXPAYER COST OF LOCAL INCARCERATION
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Figure 3: Costs outside jail budget (FY 2014)
                                                                                                                                                                       COST
                                                                                                                                                     INMATE
                                       EMPLOYEE              INMATE                                   ADMINISTRATIVE            LEGAL                              CATEGORIES
 JAIL JURISDICTION                                                               CAPITAL COSTS                                                    PROGRAMMING
                                        BENEFITS           HEALTH CARE                                   COSTS                JUDGMENTS                            OUTSIDE OF
                                                                                                                                                  & OTHER COSTS    JAIL BUDGET

 Alameda County, CA                                                 ◗                     ◗                     ◗                                                       3
 Albemarle-Charlottesville, VA                                      ◗                                                                                                   1
 Allegany County, NY                        ●                                             ◗                    ●                     ●                   ◗              5
 Bernalillo County, NM                                              ◗                                          ●                      ◗                  ◗              4
 Boulder County, CO                          ◗                      ◗                                           ◗                     ◗                                 4
 Brazos County, TX                                                  ◗                   ●                      ●                     ●                                  4
 Chautauqua County, NY                                              ◗                     ◗                     ◗                                        ◗              4
 Cherokee County, GA                                                ◗                   ●                      ●                     ●                   ◗              5
 Clinton County, PA                          ◗                                          ●                       ◗                    ●                                  4
 Dallas County, TX                          ●                     ●                     ●                       ◗                    ●                                  5
 Davidson County
 Sheriff's Office, TN*                       ◗                    ●                     ●                                            ●                                  4
 Douglas County, NE                         ●                                                                  ●                     ●                   ◗              4
 Guadalupe County, TX                                                                                          ●                     ●                   ◗              3
 Hampden County, MA                          ◗                                           ◗                                            ◗                                 3
 Harris County, TX                           ◗                     ◗                    ●                      ●                     ●                   ◗              6
 Johnson County, KS                                                                     ●                      ●                     ●                                  3
 City of Kent, WA                                                                                              ●                                         ●              2
 King County, WA                                                  ●                                             ◗                    ●                   ◗              4
 Limestone County, TX                                                                   ●                      ●                     ●                                  3
 Louisville Metro, KY                                                                                          ●                     ●                                  2
 Lubbock County, TX                                               ●                      ◗                     ●                     ●                                  4
 Mecklenburg County, NC                                                                                                                                  ◗              1
 Mesa County, CO                            ●                      ◗                    ●                      ●                     ●                   ◗              6
 Miami-Dade County, FL                                            ●                                                                                                     1
 Milwaukee County House
 of Correction, WI*                                                                       ◗                                                              ◗              2
 New York City, NY                          ●                     ●                     ●                      ●                     ●                   ◗              6
 Onondaga County
 Justice Center, NY*                                                                                                                                     ◗              1
 Palm Beach County, FL                       ◗                                                                 ●                     ◗                   ◗              4
 Pitkin County, CO                                                                                             ●                                                        1
 Potter County, TX                           ◗                      ◗                     ◗                    ●                     ●                                  5
 Ramsey County, MN                                                ●                     ●                      ●                     ●                                  4
 Rockwall County, TX                         ◗                                                                 ●                     ●                                  3
 Shelby County Division
 of Corrections, TN*                                                ◗                                                                                                   1
 Travis County, TX                           ◗                                            ◗                     ◗                    ●                   ◗              5
 Volusia County, FL                          ◗                                            ◗                    ●                     ●                   ◗              5
 Total (35 jurisdictions)                   15                    18                    20                    27                    25                   17           122
Key ◗ Some jail costs are outside the jail budget. ● All jail costs are outside the jail budget.
     * Respondent jail jurisdiction is in a county with multiple jail jurisdictions. Data is not applicable to other jail jurisdictions in the county.

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                                               INMATE HEALTH CARE

                                               Jails provide health care services—which include costs for doctors, nurses, phar-
                                               maceuticals, and hospital care—directly or through contracted providers. These
                                               costs can be sizable. For example, in Washington State, King County Public Health
                                               paid $29 million in health care services for incarcerated people in the custody of
                                               the King County jail (ADP 2,076), an amount that accounted for 20 percent of to-
                                               tal jail costs. Although such expenses are often paid through a jail budget, 18 of 35
                                               jails indicated that another county agency paid at least a portion of inmate med-
                                               ical costs. Among the jurisdictions surveyed, this practice is most prevalent in
                                               large counties. For example, the University of New Mexico provides hospital care
                                               for people incarcerated at the Bernalillo County Metropolitan Detention Center;
                                               Parkland Hospital provides all medical care for incarcerated people at the Dallas
                                               County Jail; and the New York City Department of Health and Mental Hygiene
                                               provides health care for all incarcerated people in jail citywide.

                                               CAPITAL COSTS

                                               Jail costs include the expense of purchasing and maintaining buildings and
                                               equipment. Although counties often draw on the jail operating budget for
                                               smaller purchases (such as to replace flooring) and issue bonds to make larger
                                               purchases (such as to build a new housing unit), 20 jail jurisdictions surveyed
                                               indicated that other county departments paid for a portion of capital costs. For
                                               example, in Alameda County, California, both the Auditor-Controller Agency


 Focus on Texas

 Respondents from nine county jails in Texas indicated that there are six categories of costs
 frequently paid by other county agencies: employee benefits, capital costs, legal judgments and
 claims, administrative costs, inmate health care, and other miscellaneous costs. These costs can add
 substantially to the total price of jail.


                   Potter


                                                                                                                          MISC
                                                             Brazos                   ✔         ✔        ✔         ✔
                      Lubbock
                                     Dallas
                                              Rockwall       Dallas         ✔         ✔         ✔        ✔         ✔
                                                             Guadalupe                          ✔        ✔         ✔         ✔
                                               Limestone

                                               Brazos
                                                             Harris         ✔         ✔         ✔        ✔         ✔         ✔
                                Travis             Harris    Limestone                ✔         ✔        ✔
                            Guadalupe                        Lubbock                            ✔        ✔         ✔
                                                             Potter         ✔         ✔         ✔        ✔         ✔
                                                             Rockwall       ✔                   ✔        ✔
                                                             Travis         ✔         ✔         ✔        ✔                   ✔



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and the County Administrator’s Office manage debt service for the Alameda
County Jail. But these costs were difficult for respondents to ascertain. Only
nine of the 20 jurisdictions reporting that a portion of their capital costs were
paid from funds outside the jail budget could provide the amount of that cost.

ADMINISTRATIVE COSTS
                                                                                         Many jails are not
Judging from survey results, many jails are not administratively self-­sufficient:
27 of 35 respondents reported that they leverage the resources of other c­ ounty         administratively
agencies to provide human resources, information technology, and legal
services. Smaller counties, in particular, often manage these functions cen-             self-sufficient: 27
trally. One example is Pitkin County, Colorado, where various county agencies
­provided $220,045 in administrative services such as human resources and                of 35 respondents
 finance for the jail, an amount that was 10 percent of total jail spending.
 Among the other jails that could identify the amount of these costs, outside            reported that
administrative costs averaged about 5 percent of total costs.
                                                                                         they leverage
LEGAL JUDGMENTS, CLAIMS, AND SETTLEMENTS
                                                                                         the resources
The costs of jail-related legal judgments and claims are often paid through a
county’s central account. Twenty-five of 35 jail jurisdictions reported that another
                                                                                         of other county
agency pays for at least a portion of these costs. For example, the legal division for
the Metropolitan Government of Nashville and Davidson County, in Tennessee,
                                                                                         agencies to provide
pays for judgments and claims on behalf of the Davidson County Sheriff’s Office.
These costs are difficult to tally because they are commingled with the cost of
                                                                                         human resources,
judgments and claims for other county agencies. They are, however, usually
small relative to total jail spending. For example, in fiscal year 2014, the cost of
                                                                                         information
judgments and claims in Davidson County amounted to less than 2 percent of
total spending.
                                                                                         technology, and
INMATE PROGRAMMING AND OTHER COSTS                                                       legal services.
Some jails provide education and training programs, in part to improve peo-
ple’s transition when they return to the community. But payment for these
programs often falls outside the jail budget. For example, the Milwaukee Area
Technical College provides GED training for the Milwaukee County House of
Correction. And the inmate welfare fund—which in some jurisdictions is an ac-
count separate from the jail budget—provides for vocational training programs
at the King County Department of Adult and Juvenile Detention, in Wash-
ington. (See “How Jails Are Funded,” page 16, for further discussion of inmate
welfare funds.) In some jurisdictions, other departments also manage costs
for other functions of the jail, such as inmate transportation, but these costs
amount to a trivial proportion of total jail spending.




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                                           HOW JAILS ARE FUNDED

                                           Thirty-two of the 35 surveyed jurisdictions provided data about their reve-
                                           nue sources and reported that the county general fund paid for more than 85
                                           percent of jail costs. There are some exceptions, such as in the Commonwealth
                                           of Massachusetts (Hampden County in Vera’s sample), where the state govern-
                                           ment provides funding to the jails. Twenty-three jurisdictions reported receiv-
                                           ing some revenue through boarding contracts for housing incarcerated people
                                           for other county, state, and/or federal jurisdictions.16
Thirty-two of                                 Another small contribution to jail budgets—about 3 percent of jail spending
                                           on average—comes from inmate-generated revenue. In some jails, this revenue
the 35 surveyed                            is directed into “inmate welfare funds,” which jails use to pay for programs,
                                           goods, or services, as determined by legislative or administrative policy. In
jurisdictions                              other jails, such as the Shelby County Division of Corrections and the Milwau-
                                           kee County House of Correction, inmate-generated revenue is returned to the
provided data about                        state or county general fund. Many factors influence the size of inmate welfare
                                           funds, including the services paid for with funds, the sources of revenue, and
their revenue sources                      the size of the jail. These funds typically support expenses such as program-
                                           ming (educational, recreational, entertainment, or other), supplies, and books
and reported that                          and other library materials.17
                                             Jail administrators often point to inmate-generated funds as crucial to sup-
the county general                         porting jail programming. For example, in Washington, 80 to 90 percent of King
                                           County’s inmate welfare fund is supported by telephone commissions—money
fund paid for more                         received from telephone-service providers out of payments for collect phone
                                           calls from incarcerated people. (See “Inmate-Generated Revenue” on page 17 for
than 85 percent of                         more information.) The fund supports a wide range of activities and services,
                                           such as special meals for religious celebrations, reading glasses, books and other
jail costs.                                supplies, and professional contracts and services. It also sometimes pays the
                                           salaries of staff who oversee programming in the jail. Recent federal proposals
                                           to limit phone-call rates have prompted concerns among corrections officials
                                           about how the decline in phone commissions could adversely affect program-
                                           ming.18 But given how small a portion of the budget these funds are, it may not
                                           be an excessive burden on county or municipal budgets to pay for these pro-
                                           grams directly.




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INMATE-GENERATED REVENUE

Most jails—90 percent nationally, according to the latest data—
generate revenue from the people they incarcerate.a In Vera’s
sample, thirty-one of 32 of the jurisdictions indicated that they
charge incarcerated people fees. Although the proportion varies from 1 to 6
percent of jail expenses, inmate-generated revenues amount to an average
of 3 percent of total jail revenues among surveyed jurisdictions. The largest
sources of this type of revenue are commissary purchases—items bought by
incarcerated people from the internal jail store, from toothbrushes and food
to portable music players (41 percent); telephone and video calls (29 percent);
co-payments for medical services (6 percent); and jail work programs that allow
certain incarcerated people to work in the community but require them to turn
over to the jail a significant portion of their wages to participate (4 percent).
Among the jails that charge these fees, revenue averages $384 per inmate
per year for phone calls, $452 for commissary purchases, and $52 for medical
fees.b Other less-frequently assessed charges include fees for booking, elec-
tronic monitoring, drug testing, laundry, home detention, and fingerprinting.c

A look at two types of fees, telephone and work program fees, show how
these charges vary. In Vera’s sample, the Hampden County jail (Massachu-
setts), the King County jail (Washington), and the Milwaukee County House of
Correction (Wisconsin) charge 10 to 15 cents per minute for local calls, as well
as a 2 to 3 dollar initiation fee to begin the call.d Jails typically take in revenue
through their phone contracts, collecting a commission on usage. In those
three jurisdictions, commissions range from 51 to 58 percent of call revenue.
Revenue generated from jail work programs also varies; the fees charged in-
carcerated people can be flat or scaled to the wages they earn. For example,
Hampden and King Counties use scaled charges, while the Milwaukee County
House of Correction and the Shelby County Division of Corrections (Tennes-
see) charge flat fees. Depending on the jail, participation in work programs
can be voluntary or court-ordered, and is usually reserved for the smaller num-
ber of people serving sentences in county facilities as opposed to those who
are incarcerated pretrial.

Although the amount of money collected from these sources is small relative
to total jail spending, it can be considerable for people who are incarcerated—
amounting to $1,259 per inmate per year in the surveyed jurisdictions.e Given
that fees are attached to everyday life in jail, incarcerated people must either
depend on the jail to provide essential items free of charge, or amass debt for
charges incurred during their stay for which they may be liable even after their
release.f While some jurisdictions write off debts incurred by incarcerated peo-
ple as uncollectable, others, such as King County, may seek payment through
collections agencies post-release. Still others, such as the Shelby County Divi-
sion of Corrections, collect debts incurred during a prior jail stay if a person is
re-incarcerated and has the resources to pay. In still others, such as King Coun-


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                                              ty, jail administrators may seek payment of debts through collection agencies
                                              post-release. Many jurisdictions include provisions for people who do not have
                                              the resources to pay, providing them with stamps and envelopes, necessary
                                              items for hygiene and other purposes, and medical visits at no charge.

Although the                                  a
                                                Barbara Krauth and Karin Stayton, Fees Paid by Jail Inmates: Fee Categories, Revenues, and Manage-
                                              ment Perspectives in a Sample of U.S. Jails, (Washington, DC: National Institute of Corrections, 2005), 10.
                                              b
                                                The average cost of jail work programs could not be estimated because the survey did not collect data

amount of money                               on the number of work program participants.
                                              c
                                                Authors’ calculations using responses from Vera’s Price of Jails survey.
                                              d
                                                Information on calling rates and work programs was obtained through interviews with officials at the

collected from these                          Hampden County Sheriff’s Office, the Milwaukee County House of Correction, the King County Depart-
                                              ment of Adult and Juvenile Detention, and the Shelby County Division of Corrections.
                                              e
                                                This amount is calculated by dividing the total amount of inmate-generated revenue by the average

sources is small                              number of inmates in the surveyed jails.
                                              f
                                                To meet basic needs, many jurisdictions provide some items and services for people who do not have
                                              the resources to pay, providing them with stamps and envelopes, necessary items for hygiene and other

relative to total jail                        purposes, as well as medical visits at no charge.




spending, it can
                                           A tale of two counties:
be considerable
                                           Inmate populations drive costs
for people who are
                                           As the survey confirmed, local jails cost more than policymakers, jail adminis-
incarcerated—                              trators, or the public realize. The survey also showed that most of these costs are
                                           for personnel—costs that come from within a jail’s budget as well as those other
amounting to $1,259                        county agencies pay. The entire survey sample spent about 75 percent of total jail
                                           expenses on staff costs, including salaries and benefits.19 Thus, local policymakers
per inmate per year                        who decide that the price tag for their jails is too steep will need to take deliber-
                                           ate steps to reduce personnel costs. The only way to have a real impact on per-
in the surveyed                            sonnel costs is by reducing the size of the jail population. Reducing the number
                                           of staff without reducing the population would impact the safety of the jail; the
jurisdictions.                             number of incarcerated people dictates the numbers of employees required to
                                           process and supervise them, and as a result staffing ratios don’t vary that much.
                                           Across the board salary or benefit cuts are rarely an option.
                                             In contrast, other types of downsizing, such as administrative or program cuts,
                                           will have a relatively small impact on jail spending. Such cost-saving measures
                                           affect few changes in jail personnel, if any. In addition, some of these expenses,
                                           such as money spent on programming, make up a minuscule proportion of total
                                           jail spending. Among the jurisdictions in the entire survey sample, for example,
                                           program costs amounted to no more than 1 percent of total jail spending.20 There-
                                           fore, these types of cuts—often the most palatable to make—will never generate
                                           enough savings for communities to reinvest in alternatives and may even lead to
                                           some unintended and unwanted consequences, such as higher recidivism rates
                                           and higher medium and long term costs. What’s more, unless local jurisdictions
                                           reduce the size of their jail population, they may potentially face more costly
                                           options, such as exceeding their facility’s capacity, which can jeopardize the
                                           safety of incarcerated people and staff alike (and also invite lawsuits); building


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A tale of two counties: Inmate populations drive costs (FY 2014)



   Johnson County is              Johnson County                 Bernalillo County
   about the same size                Kansas                       New Mexico
   as Bernalillo County.

                                   574,272                          675,551
                                   RESIDENTS                        RESIDENTS



   Jail is more expensive in
   in Johnson County.


                                   $191.95                           $85.63
   B ECAUSE                    P ER INMATE PER DAY             PER INMATE PER DAY




   Staffing ratio is lower.                     1.4                                  4.1
   Salaries are higher.                         INMATES                              INMATES




                                      $94K                            $54K
                                   AVG. SALARY                     AVG. SALARY
   B UT



   Fewer are incarcerated in
   Johnson County.



   SO                            693 inmates                     2,496 inmates
                                 (1 2 1 PER 100,000)              (369 PER 100,000)


   Taxpayers in Johnson
   County spend less
   on the jail.

   TO TA L A NNUAL COST            $49 million                    $78 million
                                 ($82 per resident)             ($113 per resident)


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                                           an expensive new facility; or entering into pricey boarding contracts with other
                                           jurisdictions to manage potential population overflow.
                                             Although the two key determinants of jail population—the number of jail

Local policymakers                         admissions and length of stay—are well known, reducing the number of people
                                           incarcerated is easier said than done. The task requires sustained cooperation

who decide that                            and collaboration among the agencies and actors whose policies and actions
                                           determine who goes to jail and for how long. These actors include the police

the price tag for                          who decide whom to arrest; the local prosecutor who decides whom to charge;
                                           the judicial officer and prosecutor who make or inform bail, diversion, or dispo-

their jails is too                         sition decisions at arraignment; and the court, prosecution, and defense counsel
                                           who agree to the type of case disposition and sentence at the end of a criminal

steep will need to                         case. The way in which police and other system actors respond to probation or
                                           parole violations and outstanding warrants also influences the jail population.

take deliberate                            But because what happens at each of these decision points varies significantly
                                           from place to place, each county needs to pinpoint the specific drivers of their

steps to reduce the                        jail inmate population to identify the best reforms for their own jurisdiction.
                                              Inmate population is such a key cost driver that it is possible for “expensive”

size of their jail                         jails (meaning those with a high average per-inmate cost) to be the least costly
                                           to taxpayers. Consider the example of two counties of similar size: Johnson

populations.                               County, Kansas, and Bernalillo County, New Mexico, with county populations
                                           of 574,272 and 675,551, respectively.21 By comparing the average cost per inmate,
                                           the jail in Johnson County appears to be more than twice as expensive as the
                                           jail in Bernalillo County ($191.95 per day versus $85.63 per day). This is because
                                           Johnson County has higher average salaries ($94,899) and a lower staffing ratio
                                           (1.4 inmates per corrections officer); Bernalillo County has an average salary of
                                           $54,819 and a staffing ratio of 4.1 inmates per corrections officer.22
                                              But taxpayers in Johnson County spend less on the jail than taxpayers in Ber-
                                           nalillo County do, because the incarceration rate is more than three times lower
                                           (121 per 100,000 versus 369 per 100,000). As a result, the annual cost of jail in
                                           Johnson County is $49 million ($82 per county resident), versus $78 million ($113
                                           per county resident) in Bernalillo County.
                                              Bernalillo County has faced a long-standing federal lawsuit regarding jail con-
                                           ditions and has historically relied on costly out-of-county beds for as many as 700
                                           inmates. Recognizing the urgent need to reduce the jail population, the county
                                           formed a Criminal Justice Review Commission to create an emergency jail pop-
                                           ulation management plan designed to reduce overcrowding.23 The commission
                                           developed 40 initiatives to reduce the jail population, such as setting probation
                                           violation hearings 20 days from arrest rather than 30 days from filing, increasing
                                           the use of citation rather than arrest, and funding an assistant district attorney for
                                           misdemeanor arraignments to hasten case processing.
                                              Many of these initiatives have been implemented and, as a result, the jail
                                           population has already declined sharply since 2014—the period for which we
                                           collected data. During fiscal year 2014 the average daily population was 2,496
                                           (or 369 per 100,000), but as of April 2015 the jail population has since declined
                                           39 percent to 1,523 (or 225 per 100,000).



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  The decline in the inmate population, in turn, will yield saving for taxpayers.
The county is already saving the money that had been spent on out-of-county
jail beds. And the jail has closed one housing unit and plans to close another
later in the year—a striking turn of events in a just a couple years.



Measuring a jail’s cost savings
Because the size of the inmate population is the biggest cost driver for jails,
jurisdictions that reduce the size of their jails have an opportunity to realize
savings. But identifying the amount of those savings is more complicated than
it may seem. This is because the jail’s cost savings cannot be calculated using
the most commonly available measures of cost: the average per-inmate cost
and the jail budget.
   Multiplying the average cost by any reduction in the average inmate count
overestimates savings because the average cost includes fixed expenses for
administration, utilities, and facilities that do not change when the inmate pop-
ulation declines. And comparisons of year-over-year total jail budgets will not
produce an accurate measure of savings. This is because inflation—meaning
the continually rising costs (for salaries, pensions, health care, and utilities) that
are independent of the number of inmates in the jail—will consume a portion
of any savings generated by declining inmate populations. In fact, the effect of
these rising costs means that it is possible for the jail budget to increase even as
the inmate population and the number of jail employees declines.
   Calculations of jail or prison savings should instead be made using marginal
costs, which are also sometimes called incremental costs. In this context, “mar-
ginal” does not mean small or insignificant, but at the margin of an existing
level of operation; it describes the cost or savings realized because of an incre-
mental change in activity.24 For correctional facilities, this means the additional
cost or savings realized because of a change in the inmate population. Unlike
average costs, which include fixed costs that mostly cannot be changed, the
marginal cost comprises two types of costs that are inherently more change-
able: First, it includes “variable costs,” costs such as food and laundry services
that are directly linked to the number of incarcerated people and change imme-
diately as this number goes up or down. Second, marginal cost includes “step-
fixed costs,” such as personnel costs, that change in stepwise increments. For
example, in the context of a jail, personnel expenses are step-fixed costs when
the inmate population declines to the point that an entire housing unit can be
closed and associated staffing reductions can occur.
   Despite the fact that marginal costs can accurately estimate the impact of
a particular policy, only six of 30 surveyed jails that responded to questions
about marginal costs (20 percent) reported that they calculate this metric. One
jurisdiction in the survey sample that does calculate marginal costs—Hampden
County, Massachusetts—provides a good example of how a jail’s marginal cost
can be used to determine savings.



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Fewer inmates, lower costs

Jurisdictions like Hampden County in Massachusetts that reduce their jail
population realize savings in increments. As the inmate population declines,
jails save on variable costs like food and laundry. Step-fixed costs, such as
uniformed guard personnel, cannot be saved until a housing unit closes. The
jail will save even more step-fixed costs when multiple housing units are closed
and reductions can be made in personnel who work across the facility, such as
medical and clerical staff.



                   Variable                            Variable                              Variable
                    costs                               costs                                 costs




                                                            Step-Fixed
                                                               costs                               Step-Fixed
     Fixed costs                         Fixed costs                           Fixed costs            costs




                          D E C R E A S I N G I N M AT E P O P U L AT I O N


        One inmate                        One housing unit                     Several housing units



   Between 2008 and 2014, the inmate population in Hampden County had
declined by 30 percent (634 inmates). This decrease was the result of declining
crime rates in the county’s largest city (Springfield); fewer prosecutions, com-
bined with more diversions to probation supervision; and reentry initiatives by
the jail that have reduced recidivism by 25 percent since 2000.25
   Because the decline in the number of incarcerated people was so large, the
sheriff’s department was able to close six housing units—each with an aver-
age of 55 beds—and downsize 11 others from 107 to 77 beds, saving step-fixed
expenses as well as daily variable expenses. (See “Fewer inmates, lower costs”
on page 22.) If the decrease in inmate population was not sufficient to close a
housing unit, the department would have only saved the variable costs.
   The Hampden County Sheriff’s Department estimates that the variable cost
is $5,840 per inmate annually and the step-fixed cost to staff a post in a housing
unit is approximately $400,000. When several housing units are eliminated,
then another $700,000 for other jail personnel (e.g., counselors, clerical, medical,
program, and maintenance staff) can be saved. Thus, the drop in the jail popula-
tion has led to $13.1 million in annual savings for the department.26 When the $2.9




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million of annual savings the state accrues is added to this sum—because the
Commonwealth of Massachusetts saves an additional 30 cents in fringe benefits
costs for each dollar of salary savings—the total annual jail savings is $16 million.
  If instead the average daily cost ($143.72 per inmate) had been used to calcu-
late the savings in Hampden County, the result would have been $33.3 million
annually, a calculation that erroneously overestimates the savings. And using
the jail budget to estimate savings would result in an underestimate. From
2008 to 2014—the period when the average daily inmate population declined
by 634—annual spending at the Hampden County Sheriff’s Department
declined by $2.8 million. But this amount should not be mistaken for the jail’s
savings for two reasons. First, the 2008 amount is not adjusted for inflation and
therefore is not directly comparable with 2014 dollars and hence that year’s
costs. (Between 2008 and 2014, the average cost of staff salaries increased 15
percent because of annual cost-of-living increases.)27 Second, the calculation
excludes the fringe benefits savings to the Commonwealth.




 The right (and wrong) way to calculate jail savings



       INMATE                                                                               ACCURATE
     POPULATION
     REDUCTION
                                     x             MARGINAL
                                                     COST                       =          ESTIMATE OF
                                                                                             SAVINGS



       INMATE                                                                              INACCURATE
     POPULATION
     REDUCTION
                                     x              AVERAGE
                                                      COST                      =          ESTIMATE OF
                                                                                             SAVINGS

 Inaccurate because: Average cost includes fixed costs that do not change.



  SHERIFF’S BUDGET                            SHERIFF’S BUDGET                             INACCURATE
   BEFORE INMATE
      DECLINE
                                     –          AFTER INMATE
                                                  DECLINE
                                                                                =          ESTIMATE OF
                                                                                             SAVINGS
 Inaccurate because: Calculation excludes costs at other county agencies and does not account
 for inflation or staff salary increases.




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                                           Conclusion
                                           Although a sheriff or jail administrator is accountable for the safe, secure, and
So only by widening                        constitutional operations of a jail, the public is ultimately responsible. Just
                                           as schools, parks, and roads are our schools, parks, and roads, the jails are our
the lens—looking                           jails. As government leaders and the public question whether jail is being used
                                           cost-effectively to meet a community’s safety and justice needs, they need to
beyond the jail                            understand what the total costs are. Responses to Vera’s survey of local jails
                                           demonstrated that determining the price of a jail is not simply a matter of
to the decisions                           looking up the line item in a county budget, given that in many places, other
                                           departments bear significant jail costs. But the survey results also showed that
made by police,                            the task of identifying all costs, though difficult, is possible. With collaboration
                                           among county agencies, a jurisdiction can put together a complete picture of
prosecutors, judges,                       what it spends on jail incarceration. The methodology developed for this study
                                           can serve as a tool to do that.
and community                                Although determining the actual price of the jail is a critical inquiry that local
                                           policymakers must undertake, calculating this amount is only the first step in a
corrections officials—                     broader analysis to understand what type of investment a community wants to
                                           make in its jail. When elected officials and other policymakers know a jail’s total
will jurisdictions be                      cost and marginal cost—as well as the many cost-effective alternatives to jail
                                           detention—they can make better decisions to match the appropriate amount of
able to significantly                      local tax dollars to the jail.
                                             The only way localities can safely reduce the costs incurred by jail incarcera-
reduce the size of                         tion is to limit the number of people who enter and stay in jails. This is no small
                                           task. How and why so many people cycle through jails is a result of decisions
their jails…                               dispersed among largely autonomous system actors. This means that the pow-
                                           er to downsize the jail is largely in the hands of stakeholders outside its walls.
                                           So only by widening the lens—looking beyond the jail to the decisions made by
                                           police, prosecutors, judges, and community corrections officials—will jurisdic-
                                           tions be able to significantly reduce the size of their jails, save scarce county
                                           and municipal resources, and make the necessary community reinvestments to
                                           address the health and social service needs that have for too long landed at the
                                           doorstep of the jail.




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Appendix: SUMMARY OF PRICE OF JAILS SURVEY RESULTS (FY 2014)
                                                                                                   REPORTED COSTS
                                               2014 COUNTY        AVERAGE DAILY    COSTS PAID BY                      TOTAL REPORTED
              JAIL JURISDICTION                                                                    OUTSIDE THE JAIL
                                               POPULATION1       JAIL POPULATION    JAIL BUDGET                           COST*
                                                                                                      BUDGET †



 ALAMEDA COUNTY, CA (OAKLAND)                    1,610,921            3,380         $190,223,004      $1,877,047        $192,100,051




 ALBEMARLE-CHARLOTTESVILLE
                                                  163,688              414           $13,786,686     None reported      $13,786,686
 REGIONAL JAIL, VA2




 ALLEGANY COUNTY, NY                              47,736               131           $5,486,178       $2,254,780         $7,740,958




 BERNALILLO COUNTY, NM (ALBUQUERQUE)              675,551             2,496          $77,366,694       $650,000         $78,016,694




 BOULDER COUNTY, CO                               313,333              484           $14,874,143      $4,670,968        $19,545,111




 BRAZOS COUNTY, TX (COLLEGE STATION)              209,152              619           $11,117,453      $1,149,380        $12,266,833




 CHAUTAUQUA COUNTY, NY                            132,053              284           $11,688,978       $396,758         $12,085,736




 CHEROKEE COUNTY, GA                              230,985              597           $10,367,718        $9,090          $10,376,808




 CLINTON COUNTY, PA                               39,745               283           $5,642,919        $987,729          $6,630,648




 DALLAS COUNTY, TX                               2,518,638            6,144         $110,132,749     None reported      $110,132,749




 DAVIDSON COUNTY SHERIFF'S OFFICE, TN
                                                  668,347             1,975          $62,341,532      $15,395,327       $77,736,859
 (NASHVILLE)4




 DOUGLAS COUNTY, NE (OMAHA)                       543,244             1,240          $37,747,484     None reported      $37,747,484




 GUADALUPE COUNTY, TX                             147,250              322           $6,032,719      None reported       $6,032,719




 HAMPDEN COUNTY, MA (SPRINGFIELD)                 468,161             1,569          $67,663,871      $14,640,390       $82,304,261




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                                                                                 REPORTED       REPORTED           JAIL
         DETAILS ON                                                                                                               ANNUAL COST
                                            UNREPORTED JAIL COSTS              AVERAGE DAILY     AVERAGE     INCARCERATION
   REPORTED COSTS OUTSIDE                                                                                                          PER COUNTY
                                            OUTSIDE THE JAIL BUDGET              COST PER      ANNUAL COST        RATE
       THE JAIL BUDGET                                                                                                              RESIDENT 7
                                                                                  INMATE*      PER INMATE*    (PER 100,000)6


Inmate mental health care                Capital expenditures ◗ central
                                                                                  $155.71         $56,834            185               $106
($1.9 million)                           administration ◗



The amount of jail costs outside the
                                         Inmate hospital care ●                    $91.24         $33,301            244               $50
jail budget could not be determined.


Pensions ($823,102); employee            Retiree health care ● capital
fringe benefits ($1.4 million); inmate   expenditures ◗ legal judgments ●         $161.47         $58,938            124               $108
transportation ($47,873)                 central administration ●


                                         Legal judgments ◗ central
Inmate hospital care ($650,000)          administration ● inmate education/        $85.63         $31,257            369               $113
                                         GED ● inmate vocational training ●


Pensions ($875,770); employee fringe
                                         Legal judgments ◗ central
benefits ($3.8 million); inmate mental                                            $110.64         $40,382            154               $58
                                         administration ◗
health care ($30,000)

Capital expenditures ($239,272);
hospital care ($107,622); inmate         Legal judgments ● central
                                                                                   $54.29         $19,817            294               $53
pharmaceuticals ($427,974); inmate       administration ●
medical care ($374,512)

Capital expenditures ($106,758);
central administration ($200,000);
                                         No costs were excluded from the
inmate hospital care ($15,000); inmate                                            $116.79         $42,627            199               $84
                                         total reported cost.
education/GED ($50,000); inmate
vocational training ($25,000)

                                         Capital expenditures ●
                                         inmate hospital care ◗ inmate
Inmate education/GED ($9,090)            pharmaceuticals ● inmate mental           $47.66         $17,396            258               $42
                                         health care ● inmate medical care ◗
                                         inmate education/GED ●

Pensions ($448,010); capital
expenditures ($95,000); central          Legal judgments ●                         $64.19         $23,430            304               $64
administration ($444,719)

                                         Pension contributions ● retiree
                                         health care ● employee fringe
                                         benefits ● capital expenditures ●
The amount of jail costs outside the     legal judgments ● central
                                                                                   $49.11         $17,925       Not estimated3    Not estimated3
jail budget could not be determined.     administration ◗ inmate hospital
                                         care ● inmate pharmaceuticals ●
                                         inmate mental health care ● inmate
                                         medical care ●

Employee fringe benefits
($2.4 million); legal judgments
                                         Capital expenditures ●                   $107.84         $39,360       Not estimated4    Not estimated4
($1.4 million); inmate medical care
($11.6 million)

                                         Pension contributions ● retiree
                                         health care ● employee fringe
The amount of jail costs outside the
                                         benefits ● legal judgments ●              $83.40         $30,442            149               $48
jail budget could not be determined.
                                         central administration ● inmate
                                         transportation ◗

                                         Legal judgments ● central
The amount of jail costs outside the
                                         administration ● inmate                   $51.33         $18,735            166               $32
jail budget could not be determined.
                                         transportation ◗


                                         Capital expenditures ◗ legal
Employee benefits ($14.6 million)                                                 $143.72         $52,457            331              $159
                                         judgments ◗




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                                                                                                     REPORTED COSTS
                                               2014 COUNTY        AVERAGE DAILY    COSTS PAID BY                        TOTAL REPORTED
               JAIL JURISDICTION                                                                     OUTSIDE THE JAIL
                                               POPULATION1       JAIL POPULATION    JAIL BUDGET                             COST*
                                                                                                        BUDGET †




 HARRIS COUNTY, TX (HOUSTON)                     4,441,370            9,041         $172,511,829       None reported      $172,511,829




 JOHNSON COUNTY, KS                               574,272              693           $37,888,796        $10,692,591       $48,581,387




 CITY OF KENT, WA                                 124,435              134           $4,056,722        None reported       $4,056,722




 KING COUNTY, WA (SEATTLE)5                      1,955,532            2,076         $114,700,189        $31,429,749       $146,129,938




 LIMESTONE COUNTY, TX                             23,524               114           $3,355,780         $1,284,554         $4,640,334




 LOUISVILLE METRO, KY                             760,026             1,991          $52,074,975         $216,054         $52,291,029




 LUBBOCK COUNTY, TX                               293,974             1,222          $21,618,115        $6,970,500        $28,588,615




 MECKLENBURG COUNTY, NC (CHARLOTTE)              1,012,539            1,878         $112,792,000        $1,021,685        $113,813,685




 MESA COUNTY, CO                                  148,255              332           $7,981,528        None reported       $7,981,528




 MIAMI-DADE COUNTY, FL                           2,662,874            4,693         $299,059,960         $499,114         $299,559,074




 MILWAUKEE COUNTY HOUSE OF CORRECTION, WI4        956,406             1,352          $62,056,293         $1,622,210       $63,678,503




 NEW YORK CITY, NY                               8,405,837            11,408        $1,103,036,050     $1,275,676,550    $2,378,712,600




 ONONDAGA COUNTY JUSTICE CENTER, NY
                                                  468,196              611           $47,308,134        $1,300,000        $48,608,134
 (SYRACUSE)4




 PALM BEACH COUNTY, FL                           1,397,710            2,300         $133,421,938       None reported      $133,421,938




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                                                                                   REPORTED       REPORTED           JAIL
          DETAILS ON                                                                                                                ANNUAL COST
                                             UNREPORTED JAIL COSTS               AVERAGE DAILY     AVERAGE     INCARCERATION
    REPORTED COSTS OUTSIDE                                                                                                           PER COUNTY
                                             OUTSIDE THE JAIL BUDGET               COST PER      ANNUAL COST        RATE
        THE JAIL BUDGET                                                                                                               RESIDENT 7
                                                                                    INMATE*      PER INMATE*    (PER 100,000)6

                                          Retiree health care ● capital
                                          expenditures ● legal judgments ●
The amount of jail costs outside the
                                          central administration ● inmate            $52.28         $19,081       Not estimated3    Not estimated3
jail budget could not be determined.
                                          hospital care ● inmate education/
                                          GED ●


Capital expenditures ($6.3 million);
                                          Legal judgments ●                         $191.95         $70,063            121               $82
central administration ($4.4 million)



The amount of jail costs outside the
                                          Central administration ◗                   $83.18         $30,360            105               $30
jail budget could not be determined.


Inmate hospital care ($131,827);
inmate pharmaceuticals ($1.9 million);
inmate mental health ($3.5 million);      Legal judgments ● central
                                                                                    $192.85         $70,390            81                $61
inmate medical care ($24.3 million);      administration ◗
inmate education/GED ($70,000);
vocational training ($59,000)


                                          Legal judgments ● central
Capital expenditures ($1.3 million)                                                 $111.52         $40,705            285              $178
                                          administration ●




Legal judgments ($216,054)                Central administration ●                   $71.96         $26,264            262               $57


                                          Legal judgments ● central
Capital expenditures ($6.5 million);      administration ● inmate hospital
                                                                                     $64.10         $23,395            386               $81
inmate mental health care ($477,612)      care ● inmate pharmaceuticals ●
                                          inmate medical care ●


                                          No costs were excluded from the
Inmate transportation ($1 million)                                                  $166.04         $60,604            128               $86
                                          total reported cost.


                                          Pension contributions ● retiree
                                          health care ● other employee fringe
                                          benefits ● capital expenditures ●
The amount of jail costs outside the
                                          legal judgments ● central                  $65.87         $24,041            216               $48
jail budget could not be determined.
                                          administration ● inmate hospital
                                          care ◗ inmate medical care ● inmate
                                          transportation ●

                                          Inmate pharmaceuticals ● inmate
Inmate hospital care ($499,114)           mental health care ● inmate medical       $174.88         $63,831            164              $111
                                          care ●


Capital expenditures ($1.6 million);      No costs were excluded from the
                                                                                    $129.04         $47,099       Not estimated4    Not estimated4
inmate education/GED ($20,560)            total reported cost.


Pensions ($374 million); employee
fringe benefits ($460 million); capital
($178 million); central administra-
tion ($14.7 million); inmate hospital
($50.2 million); pharmaceuticals          Retiree health care ● legal
                                                                                    $571.27        $208,513            136              $279
($18.4 million); inmate mental health     judgments ●
care ($39.9 million); inmate medical
care ($129.3 million); inmate edu-
cation/GED ($10.3 million in FY12);
inmate transportation ($867,181)


                                          No costs were excluded from the
Inmate education/GED ($1.3 million)                                                 $217.96         $79,555       Not estimated4    Not estimated4
                                          total reported cost.


                                          Pension contributions ◗ retiree
                                          health care ● employee fringe
The amount of jail costs outside the      benefits ◗ legal judgments ◗ central
                                                                                    $158.93         $58,010       Not estimated3    Not estimated3
jail budget could not be determined.      administration ● inmate education/
                                          GED ◗ inmate vocational training ◗
                                          inmate transportation ◗


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                                                                                                                                  REPORTED COSTS
                                                                2014 COUNTY            AVERAGE DAILY         COSTS PAID BY                                TOTAL REPORTED
                   JAIL JURISDICTION                                                                                              OUTSIDE THE JAIL
                                                                POPULATION1           JAIL POPULATION         JAIL BUDGET                                     COST*
                                                                                                                                     BUDGET †



    PITKIN COUNTY, CO                                                17,626                    17               $2,020,020              $220,045               $2,240,065




    POTTER COUNTY, TX                                               121,627                   510              $10,249,960              $487,285              $10,737,245




    RAMSEY COUNTY, MN (ST. PAUL)                                    532,655                   372              $16,871,707             $4,263,000             $21,134,707




    ROCKWALL COUNTY, TX                                              87,809                   168               $5,776,999               $21,457               $5,798,456




    SHELBY COUNTY DIVISION OF CORRECTIONS, TN
                                                                    938,803                   2,257            $59,362,635           None reported            $59,362,635
    (MEMPHIS)4




    TRAVIS COUNTY, TX (AUSTIN)                                     1,151,145                  2,362            $102,894,832            $6,062,953             $108,957,785




    VOLUSIA COUNTY, FL (DAYTONA BEACH)                              507,531                   1,452            $37,151,191           None reported            $37,151,191




Source: Vera Price of Jails survey. For the survey instrument, see vera.org/price-of-jails.

Notes:
◗ Cost partially outside jail budget
● Cost entirely outside jail budget
† See the column “Details on reported costs outside the jail budget” for details on these costs.
*U.S.
1
  See the column “Unreported costs outside the jail budget” for information on the expenses missing from this estimate.
      Census Bureau: State and County QuickFacts; county data is for 2014. City data is for 2013.
2
   he Albemarle-Charlottesville Regional Jail serves multiple jurisdictions; the county-population estimate includes Albemarle County, Nelson County, and the independent
  T
  city of Charlottesville.
3
  Respondent did not report the data on revenue and non-county inmates necessary to make this calculation.
4
   Respondent jail is in a county where there is another jail that did not respond to this survey. The data is applicable only to this jail and not all jails in the county.
    Vera therefore did not calculate the incarceration rate and cost per-resident because the county-level data is incomplete.
5
    Population estimate in King County excludes the population of the city of Kent, which uses an independent city jail (and also responded to this survey).
6
     Data excludes inmates held for other local, state, and federal authorities.
7
     This cost represents the total jail expenses paid by the county government divided by the number of county inmates, which excludes inmates held for other jurisdictions.
      Boarding payments from other jurisdictions, grants, and inmate-generated revenues are excluded from this cost.




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                                                                                 REPORTED        REPORTED           JAIL
         DETAILS ON                                                                                                               ANNUAL COST
                                           UNREPORTED JAIL COSTS               AVERAGE DAILY     AVERAGE      INCARCERATION
   REPORTED COSTS OUTSIDE                                                                                                          PER COUNTY
                                           OUTSIDE THE JAIL BUDGET               COST PER      ANNUAL COST         RATE
       THE JAIL BUDGET                                                                                                              RESIDENT7
                                                                                  INMATE*       PER INMATE*    (PER 100,000)6


                                        No costs were excluded from the
Central administration ($220,045)                                                 $361.01        $131,769            96               $123
                                        total reported cost.


Pension contributions ($148,216);       Retiree health care ● legal
employee fringe benefits ($50,019);     judgments ● inmate hospital
                                                                                   $57.68         $21,053            419               $84
capital expenditures ($200,572);        care ◗ inmate pharmaceuticals ◗
central administration ($88,478)        inmate mental health care ◗

Inmate hospital care ($1.2 million);
pharmaceuticals ($92,000); inmate       Capital expenditures ● legal
                                                                                  $155.65         $56,814             66               $37
mental health care ($171,000); inmate   judgments ● central administration ●
medical care ($2.8 million)


Retiree health care ($9,600);           Legal judgments ● central
                                                                                   $94.56         $34,515            179               $61
employee fringe benefits ($11,857)      administration ●



The amount of jail costs outside the
                                        Inmate hospital care ◗                     $72.06         $26,302       Not estimated4    Not estimated4
jail budget could not be determined.


                                        Retiree health care ● capital
Central administration ($6.1 million)   expenditures ◗ legal judgments ●          $126.38         $46,129            203               $92
                                        inmate transportation ◗

                                        Retiree health care ● capital
The amount of jail costs outside the    expenditures ◗ legal judgments ●
                                                                                   $70.10         $25,586            286               $72
jail budget could not be determined.    central administration ● booking/
                                        intake ◗ inmate transportation ●




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ENDNOTES
1    Jeremy Travis, Bruce Western, and Steve Redburn, eds., The Growth of Incar-
     ceration in the United States: Exploring Causes and Consequences (Washing-            9   Vera Institute of Justice, Price of Jails survey. Information on jail costs outside
     ton, DC: The National Academies Press, 2014).                                             the Department of Correction budget provided by the New York City Office of
                                                                                               Management and Budget. See the appendix for a synopsis of the survey data
2    For information about recent state sentencing reforms, see Ram Subramanian                provided by the City of New York.
     and Rebecka Moreno, Recalibrating Justice: A Review of 2013 State Sentenc-
     ing and Corrections Trends (New York: Vera Institute of Justice, 2014). The           10 See the U.S. Department of Justice’s CrimeSolutions.gov for more on this
     U.S. Congress created the Charles Colson Task Force on Federal Corrections               evidence base.
     to examine challenges in the federal corrections system and develop practical,
     data-driven policy responses, see www.colsontaskforce.org.                            11 David Cloud, On Life Support: Public Health in the Age of Mass Incarceration
                                                                                              (New York: Vera Institute of Justice, 2014).
3    For more information regarding recent state sentencing and corrections
     reforms, see for example, Adrienne Austin, Criminal Justice Trends: Key               12 Vera developed the Price of Jails survey in consultation with jail finance
     Legislative Changes in Sentencing Policy, 2001-2010 (New York: Vera Institute            officials from Allegheny County, Pennsylvania; Bernalillo County, New Mexico;
     of Justice, 2010); Lauren-Brooke Eisen and Juliene James, Reallocating                   Hampden County, Massachusetts; Mesa County, Colorado; Milwaukee County,
     Justice Resources: A Review of State 2011 Sentencing Trends (New York: Vera              Wisconsin; and New York City. These jurisdictions also pretested the survey.
     Institute of Justice, 2012); Ram Subramanian and Ruth Delaney, Playbook for
     Change? States Reconsider Mandatory Sentences (New York: Vera Institute of            13 Vera Price of Jails survey. In Allegany County, NY and New York City, all fringe ben-
     Justice, 2014); Ram Subramanian and Rebecka Moreno, Drug War Détente? A                  efits are outside the jail budget, and amount to 29 percent and 35 percent of the
     Review of State-Level Drug Law Reform (New York: Vera Institute of Justice,              total jail cost, respectively. Also, personnel costs amount to 75 percent of the total
     2014); and Ram Subramanian and Rebecka Moreno, Recalibrating Justice,                    jail cost in the 35 surveyed jails (see endnote 19); assuming a fringe benefit rate of
     2014. Also see Alison Lawrence, Trends in Sentencing and Corrections: State              35 percent, these costs therefore account for about 20 percent of total jail spending
     Legislation (Washington, DC: National Conference of State Legislatures, 2013);           (the fringe benefit rates are 32 percent in Hampden County and 75 percent in New
     Nicole D. Porter, The State of Sentencing 2013: Developments in Policy and               York City); see endnote 14. The proportion of total jail costs represented by inmate
     Practice (Washington, DC: The Sentencing Project, 2014); and Nicole D. Porter,           health care costs varies by jail size: small jails, 7 percent; medium jails, 10 percent;
     The State of Sentencing 2012: Developments in Policy and Practice (Washing-              large jails, 13 percent. See “Jails in the U.S.” on page 7 for information about the
     ton, DC: The Sentencing Project, 2013).                                                  inmate population thresholds for small, medium, and large jails.

4    The state “total jurisdiction” prison population was 277,473 in 1978 and              14 The extent of jail costs outside jail budgets (see Figure 2) is similar to the per-
     1,359,568 in 2013. See the Corrections Statistical Analysis Tool (CSAT) – Pris-          centage of prison costs excluded from state prison budgets. But in the case
     oners at www.bjs.gov/index.cfm?ty=nps (accessed April 26, 2015).                         of jails, inmate health care is often outside the jail budget and provided by a
                                                                                              public health department, particularly in large counties, whereas inmate health
5    For the 1983 inmate population, see U.S. Department of Justice, Census of Lo-            care is always managed by the corrections department at the state level. (In
     cal Jails, 1983 (Washington, DC: U.S. Department of Justice, Office of Justice           eight of the 40 states surveyed, however, other state agencies paid for part of
     Programs, Bureau of Justice Statistics, 1988). For the 2011 inmate population,           hospital costs.) For more information on prison costs, see Christian Henrichson
     see Todd D. Minton and Daniela Golinelli, Jail Inmates at Midyear 2013 – Sta-            and Ruth Delaney, The Price of Prisons: What Incarceration Costs Taxpayers
     tistical Tables (Washington, DC: U.S. Department of Justice, Office of Justice           (New York: Vera Institute of Justice, 2012).
     Programs, Bureau of Justice Statistics, 2014).
                                                                                           15 The fringe benefit rates for uniformed corrections employees in New York City
6    For more information on jail admissions, see Ram Subramanian et al. Incarcer-            and the Commonwealth of Massachusetts were obtained from each jurisdic-
     ation’s Front Door: The Misuse of Jail in America (New York: Vera Institute of           tion’s Cost Allocation Plan, which is publicly available from the U.S. Depart-
     Justice, 2015).                                                                          ment of Health and Human Services Program Support Center, www.rates.psc.
                                                                                              gov/fms/dca/dca_swcap.html (accessed March 30, 2015).
7    Rising inmate populations have been accompanied by rising costs because
     more inmates mean more jail employees. On average, there is one jail employ-          16 Most jails principally serve the needs of the justice system in which they are
     ee for every 3.3 inmates—a proportion that has barely changed since 1983                 located (or a regional catchment), but some jails also board federal inmates. Vera
     when it was 3.5—so the increasing number of inmates has been mirrored by an              found that federal inmates typically constitute a negligible proportion of most of
     increasing number of jail employees. There are 231,000 jail employees nation-            the surveyed jails but represent a larger share in some jails. Federal inmates made
     wide, more than triple the amount in 1983. For the number of jail employees              up an average of 3 percent of total inmates in 19 of the 23 jails that reported that
     and jail inmates per employee in 1983, see Craig A. Perkins, James J. Stephan,           they hold inmates from other jurisdictions; three jails did not complete this portion
     and Allen J. Beck, Jails and Jail Inmates: 1993-94 (Washington, DC: U.S.                 of the survey. But in four jails, the proportion of total inmates in the jurisdiction of
     Department of Justice, Office of Justice Programs, Bureau of Justice Statistics,         the federal government is much higher: Allegany County, New York (53 percent,
     1995), 1. For the number of jail employees and jail inmates per employee in              mostly inmates held for the U.S. Marshals Service); Douglas County, Nebraska
     2006, see James Stephan and Georgette Walsh, Census of Jail Facilities, 2006             (27 percent, inmates held for the U.S. Marshals Service and U.S. Immigration and
     (Washington, DC: U.S. Department of Justice, Office of Justice Programs, Bu-             Customs Enforcement); Guadalupe County, Texas (22 percent, inmates held for
     reau of Justice Statistics, 2011), 1, 22. More employees, in larger jails, have led      the U.S. Marshals Service); and Mecklenburg County, North Carolina (29 percent,
     to greater costs. Since 1983, the nationwide cost of local corrections—jail and          inmates mostly held for the U.S. Marshals Service). When jails hold a large number
     community corrections—has increased from $6.8 billion to $26.4 billion (costs            of inmates from other jurisdictions, it is important that they charge the average,
     are adjusted to constant 2011 dollars). For data on local corrections costs, see         not marginal, cost of jail so they can fully recover all of their costs. Otherwise,
     U.S. Census Bureau, Finances of State and Local Governments, Fiscal Years                local taxpayers are subsidizing the cost to house inmates from outside of their
     1957–2008, (Washington DC: U.S. Census, Department of Commerce, 2010)                    jurisdiction. Jurisdictions that house only a few inmates for other authorities—and
     and U.S. Census Bureau, Annual Survey of Government Finances, 2005–2011.                 have available beds—can accept a payment that is closer to their marginal cost,
                                                                                              because in the absence of that federal inmate, the jail would need to pay staff
8    For the U.S. government’s $22.2 billion estimate of the cost of local correction-        salaries and fixed costs for the empty bed.
     al institutions (jails) in 2011, see Tracey Kyckelhahn, Local Government Correc-
     tions Expenditures, FY 2005–2011, (Washington, DC: Department of Justice,             17 Information obtained through interviews with officials at the Hampden County
     Bureau of Justice Statistics, 2013), 3. The cost of local correctional institutions      Sheriff’s Office, the Milwaukee County House of Correction, the King County
     (jails) in 1983 is not available from BJS; the authors estimate this amount to be        Department of Adult and Juvenile Detention, and the Shelby County Division
     $5.7 billion based on the percentage increase in total local corrections costs           of Corrections.
     between 1983 and 2011 (see endnote 7).



32        THE PRICE OF JAILS: MEASURING THE TAXPAYER COST OF LOCAL INCARCERATION
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18 For more on the Federal Communication Commission’s proposed rule,
   see Rates for Interstate Inmate Calling Services, Second Further Notice of
   Proposed Rulemaking, WC Docket No. 12-375 (Washington, DC: Federal
   Communications Commission, October 22, 2014).

19 Personnel costs in the 35 surveyed jurisdictions—including salaries and bene-
   fits reported both within and outside the jail budget—amounted to $3.3 billion
   of the $4.4 billion in reported jail costs.

20 Although the survey only collected the cost of programming outside the jail
   budget, this amount across the survey sample totaled $11.9 million (of which
   $10.3 million was in New York City) of the $4.4 billion in total jail costs—ap-
   proximately 0.27 percent. Although these sampled sites also incur program-
   ming costs within the jail budget, the amounts of these costs outside the jail
   budget suggests they are likely similarly small.

21 For information on county populations, see U.S. Census Bureau: State and
   County QuickFacts. Data on jail costs is from Vera’s Price of Jails survey. See
   the appendix for additional information on these calculations.

22 Data from Vera’s Price of Jail survey. Staffing ratio based on all jail employees
   (uniformed and non-uniformed). Average salary for uniformed jail employees.

23 Information on the Bernalillo County Criminal Justice Review Commission and the
   county’s recent reforms obtained from Jail Population Management Plan (Albu-
   querque, NM: Bernalillo County Public Safety), provided by Elizabeth Simpson,
   Bernalillo County Public Safety Division, e-mail exchange with Vera, May 8 and
   May 15, 2015.

24 For more information on marginal costs, see Christian Henrichson and Sarah
   Galgano, A Guide to Calculating Justice-System Marginal Costs (New York:
   Vera Institute of Justice, 2013).

25 Data on the inmate population supplied by William Christofori, Hampden
   County Correctional Center, e-mail exchange with Vera, July 15, 2015.
   Information about the causes of the population decline obtained through
   a fact sheet prepared by Martha Lyman and Rich McCarthy, provided
   by William Christofori, Hampden County Jail Correctional Center, e-mail
   exchange with Vera, March 31, 2015. Recidivism is defined as the three-
   year re-incarceration rates for people released after serving a sentence in
   Hampden County Sheriff’s Department facilities.

26 Marginal cost data obtained through the Price of Jails survey and William
   Christofori, Hampden County Jail Correctional Center, e-mail exchange with
   Vera, May 1, 2015. From 2008 to 2014, the number of jail employees declined
   by 154, from 979 to 825. The reduction of 154 positions comprises 102 uni-
   formed officers that staffed 17 guard posts and 52 non-uniformed staff. Each
   post is covered for three shifts a day and the relief factor for each post is 2.0,
   meaning that two employees are required to staff a post to account for the
   time each employee is unavailable because of leave or training. Therefore,
   six employees (3 shifts × 2.0 relief factor), at an average salary of $65,000, is
   required to staff each post for a total cost of $390,000. Salary savings for the
   52 non-uniformed staff is $2.9 million annually. Total savings of $16 million
   comprises: variable cost savings ($3.7 million), uniform personnel step-fixed
   savings ($6.5 million); uniform fringe ($2.1 million); non-uniform personnel
   ($2.9 million); and non-uniform fringe ($800,000) annually.

27 Data on cost-of-living increases supplied by William Christofori, Hampden
   County Jail Correctional Center, e-mail exchange with Vera, July 18, 2014.




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34   INCARCERATION’S FRONT DOOR: THE MISUSE OF JAILS IN AMERICA
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Acknowledgments
The authors would like to thank the Price of Jails advisory board—LaToya Warren of the Allegheny
County Bureau of Corrections, in Pennsylvania; Steve Farlow of the Jail Operations Division of the
Mesa County Sheriff’s Office, in Colorado; Jennifer Gallegos of the Bernalillo County Metropolitan
Detention Center, in New Mexico; Erik Berliner of the City of New York Department of Correction;
Joseph Antonelli of the City of New York Office of Management and Budget; Michael Hafemann of the
Milwaukee House of Correction; and William Christofori of the Hampden County Sheriff’s Department,
in Massachusetts.

We also thank the 35 jails throughout the United States whose participation in this survey is a
testament to the field’s eagerness to advance our collective understanding of the cost of jail, and the
many individuals who generated awareness of the Price of Jails project: Mike Jackson of the National
Institute of Corrections; Fred Wilson of the National Sheriffs’ Association; Juliene James of the Bureau
of Justice Assistance; Sheriff A.J. Louderback and Sheriff Kelly Rowe of the Sheriffs’ Association of
Texas; Meaghan Gilmore of the National Association of Counties; Christie Davidson of the Correctional
Management Institute of Texas; Robert McKee of the Tennessee Department of Correction; Jeff Goetz
of the Boulder County Sheriff’s Office; Lore Joplin of Lore Joplin Consulting; Michael Wilson of Michael
Wilson Consulting; Brinda Penyak of the County Commissioners Association of Pennsylvania; Peggy
Burke and Becki Ney of the Center for Effective Public Policy; Lisa Brooks of the Crime and Justice
Institute; and Richard Kinney of the New York State Commission of Correction.

We would especially like to thank Ram Subramanian, Nancy Fishman, and Peggy McGarry for their
insight and guidance in developing this report; Carl Ferrero for creating the charts, graphs, and
infographics; and Jules Verdone and Patricia Connelly for editing.

We also thank Laurie Garduque, Patrick Griffin, and Soledad McGrath of the John D. and Catherine T.
MacArthur Foundation, whose support made this work possible.

This report was created with support from the John D. and Catherine T. MacArthur Foundation
as part of its Safety and Justice Challenge initiative, which seeks to address over-incarceration
by changing the way America thinks about and uses jails. Core to the Challenge is a competition
designed to support efforts to improve local criminal justice systems in jurisdictions across the
country that are working to safely reduce over-reliance on jails, with a particular focus on addressing
disproportionate impact on low-income individuals and communities of color. More information is
available at www.SafetyandJusticeChallenge.org.




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    Suggested Citation
    Christian Henrichson, Joshua Rinaldi, and Ruth Delaney,
    The Price of Jails: Measuring the Taxpayer Cost of Local Incarceration.
    New York: Vera Institute of Justice, 2015.




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